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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

DEBORAH LAUFER, Individually,

v.
                                                   Case No. 8:20-cv-01974-PX
FT. MEADE HOSPITALITY, LLC,
A Maryland Corporation,
_______________________________________/

                     MEMORANDUM OF LAW IN SUPPORT OF
                   PLAINTIFF’S MOTION TO AMEND COMPLAINT


       This memorandum of law is being submitted on behalf of plaintiff in support of her

motion for leave to file an amended complaint. In her original complaint, which was filed

on July 3, 2020, plaintiff alleges that Defendant’s websites were in violation of the ADA.

As demonstrated below, plaintiff is entitled to an order from this Court granting leave to

amend the complaint with respect to this Honorable Court’s 11/3/2020 Order denying

Plaintiff’s Motion for Default Judgment due to lack of standing.


                                      ARGUMENT


I. LEAVE TO AMEND THE COMPLAINT SHOULD BE GRANTED BECAUSE
OF THE ABSENCE OF ANY FACTORS JUSTIFYING DENIAL OF THIS RELIEF
WHICH SHOULD BE "FREELY GIVEN."
     "[FRCP] Rule 15(a) declares that leave to amend 'shall be freely given when justice so

requires'; this mandate is to be heeded." Forman v. Davis, 371 U.S.178, 182 (1962). Indeed,

the Supreme Court has instructed that:

              In the absence of any apparent or declared reason-such as undue
              delay, bad faith or dilatory motive on the part of the movant,
              repeated failure to cure deficiencies by amendments previously

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             allowed, undue prejudice to the opposing party by virtue of
             allowance of the amendment, futility of amendment, etc.-the leave
             sought should, as the rules require, be "freely given."
Id. See also, Monahan v. New York City Dep't of Corrections, 214 F.3d 275, 283 (2d Cir.

2000) ("absent evidence of undue delay, bad faith or dilatory motive on the part of the

movant, undue prejudice to the opposing party, or futility, Rule 15's mandate must be

obeyed").

      This Court’s 11/10/20 Order specifically states that this dismissal is “without

prejudice to give Laufer the opportunity to cure the defects, if possible”. Thus, Plaintiff’s

request for leave to file an amended complaint should be granted.

                                      CONCLUSION


      Plaintiff is entitled to an order granting leave to file an amended complaint pursuant

to FRCP Rule 15(c)(1)(C)(ii) in this action, together with such other, further, or different

relief, as to the Court may seem just and proper.

Dated: November 13, 2020


Attorneys for Plaintiff:

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                              CERTIFICATE OF SERVICE
      I hereby certify that on November 13, 2020, I emailed this memo with all exhibits to:

                  Ft. Meade Hospitality, LLC
                  c/o Amit B. Vora
                  1 North 2nd Street
                  Laurel Md 20707


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